




NO. 07-05-0004-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JANUARY 19, 2005

______________________________



LAWRENCE HIGGINS, 



Appellant



v.



RANDALL COUNTY SHERIFFS OFFICE, 



Appellee

_________________________________



FROM THE 251
ST
 DISTRICT COURT OF RANDALL COUNTY;



NO. 50,468C; HON. PATRICK A. PIRTLE, PRESIDING

_______________________________



Before JOHNSON, C.J., and QUINN and CAMPBELL, JJ.

Lawrence Higgins appealed an order dismissing his suit for want of prosecution. &nbsp;By letter dated January 5, 2005, this Court notified him that the required filing fee of $125.00 had not been paid, and that if it was not paid within ten days from the date of the letter, his appeal may be dismissed. &nbsp;Appellant responded by filing an untimely affidavit of indigence with us. &nbsp;

Rule 20.1(c)(1) of the Texas Rules of Appellate Procedure provides that an affidavit of indigence must be filed in the trial court with or before the notice of appeal. &nbsp;The notice of appeal at bar was filed on September 3, 2004, while the affidavit was filed on January 14, 2005. &nbsp;Thus, it was untimely. &nbsp;

Moreover, Higgins failed to accompany his belated affidavit with a timely motion to extend the deadline within which to establish his indigence. &nbsp;
See 
Tex. R. App. P
.
 20.1(c)(3) (permitting the late filing of an affidavit of indigence if done within 15 days after the deadline and when accompanied by a motion requesting an extension of time in compliance with appellate rule 10.5(b)). &nbsp;Thus, we have no basis on which to excuse the delay.

Finally, even if the affidavit were timely, it is insufficient to establish his purported indigence. &nbsp;This is so because of its conclusory nature and failure to contain the information mandated by appellate rule 
20.1(b).

Although the filing of a notice of appeal invokes this Court's jurisdiction, if a party does not follow the prescribed rules of appellate procedure, the appeal may be dismissed. &nbsp;
Tex. R. App. P
. 25.1(b). &nbsp;Because the record before us failed to establish Higgins’ status as a pauper and because the $125.00 filing fee remains unpaid, we dismiss the appeal. &nbsp;
Tex. R. App
. 
P
. 42.3(c). 



Per Curiam


